Case 1:19-cv-00733-MV-GBW Document 1-5 Filed 08/12/19 Page 1 of 16




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8/5/2019                               Noble & Vrapi, P.A. Mail - Fwd: Your ustraveldocs.com
                                Case 1:19-cv-00733-MV-GBW                   Document 1-5     inquiryFiled
                                                                                                    Case-2019- 07-07-012518144
                                                                                                          08/12/19       PageHas Been
                                                                                                                               2 of 16Closed
                                                                                                                                                                                                                      Sarah Thomas <sarah@noblelawfirm.com>



 Fwd: Your ustraveldocs.com inquiry Case-2019- 07-07-012518144 Has Been Closed
 Hammam Yahya <hammamkyahya@gmail.com>                                                                                                                                                                                                 Mon, Aug 5, 2019 at 5:02 PM
 To: Sarah Thomas <sarah@noblelawfirm.com>

  Hi Ms Thomas,

  Here I forward to you my first correspondence with the consular office.

  Best,
  Hammam

  ---------- Forwarded message ---------
  From: support@ustraveldocs.com <support@ustraveldocs.com>
  Date: Sun, Jul 7, 2019 at 2:07 AM
  Subject: Your ustraveldocs.com inquiry Case-2019- 07-07-012518144 Has Been Closed
  To: hammamkyahya@gmail.com <hammamkyahya@gmail.com>


  Your case has been updated, please log back into your account to view the details.

   Date/Time Case Opened:       7/7/2019 9:08 AM
                                Dear Sir/Madam,

                                I am Hammam Yahya, passport number 4629801 and visa application number
                                AA008ZLZDF. I am an attending psychiatrist and an assistant professor at
                                the University of New Mexico in Albuquerque, NM.

                                I have applied for an H-1b visa on June 13, 2019. It has been in
                                administrative processing since then. I fully appreciate that this is a
                                necessary process and that it should take the needed time. I just want to
                                inquire if there is any further information that I could get as far as the
                                status of my visa application.

                                I had my H-1b status approved in July 2018, and I have been working as a
   Description:                 psychiatrist and assistant professor at UNM for almost a year. Albuquerque
                                is an under-served area and I hope to be able to get back to work soon to
                                avoid any interruption in my patients' care.

                                If I could be of any assistance in this matter, please do not hesitate to
                                contact me any time at my email hammamkyahya@gmail.com or my
                                cell                    You could also contact the chair of the Department of
                                Psychiatry and Behavioral Sciences at UNM, Dr. Mauricio Tohen, if you have
                                any questions regarding my work at UNM. His email is mtohen@salud.unm.edu,
                                and his cell is                     I truly appreciate your help with this
                                matter.

                                Sincerely,
                                Hammam Yahya, MD
   Origin:                      Email
   Case Reason:                 Visa
                                Dear Applicant,

                                Thank you for writing to the US Visa Services Desk.

                                We understand that you wish to know your visa application status.

                                We would like to inform you that your application requires additional administrative processing. Please note that the length of processing time will vary based on the circumstances of each case. Please be patient.

   Public Response:             If you are a nonimmigrant applicant, you may check your DS-160 and visa application status online here: https://ceac.state.gov/genniv/ by entering your interview location and your DS-160 barcode number.

                                We hope this information is helpful to you.

                                Please visit https://www.surveymonkey.com/s/gss_jordan to share feedback on the services we provide.

                                Sincerely,

                                U.S. Visa Service Desk.




https://mail.google.com/mail/u/0?ik=10ff65cbc9&view=pt&search=all&permmsgid=msg-f%3A1641069855712602460&simpl=msg-f%3A164106985571…                                                                                                                            1/1
8/5/2019                               Noble & Vrapi, P.A. Mail - Fwd: Your ustraveldocs.com
                                Case 1:19-cv-00733-MV-GBW                   Document 1-5     inquiryFiled
                                                                                                    Case-2019- 08-05-012674491
                                                                                                          08/12/19       PageHas Been
                                                                                                                               3 of 16Closed
                                                                                                                                                                                                                      Sarah Thomas <sarah@noblelawfirm.com>



 Fwd: Your ustraveldocs.com inquiry Case-2019- 08-05-012674491 Has Been Closed
 Hammam Yahya <hammamkyahya@gmail.com>                                                                                                                                                                                                 Mon, Aug 5, 2019 at 5:03 PM
 To: Sarah Thomas <sarah@noblelawfirm.com>


  Hi Ms Thomas,

  Here I forward to you my second correspondence with the consular office.

  Best,
  Hammam
  ---------- Forwarded message ---------
  From: support@ustraveldocs.com <support@ustraveldocs.com>
  Date: Mon, Aug 5, 2019 at 7:09 AM
  Subject: Your ustraveldocs.com inquiry Case-2019- 08-05-012674491 Has Been Closed
  To: hammamkyahya@gmail.com <hammamkyahya@gmail.com>


  Your case has been updated, please log back into your account to view the details.

   Date/Time Case Opened:       8/5/2019 3:05 PM
                                Dear Sir/Madam,

                                I am Hammam Yahya, passport number 4629801 and visa application number
                                AA008ZLZDF. I am an attending psychiatrist and an assistant professor at
                                the University of New Mexico in Albuquerque, NM.

                                I have applied for an H-1b visa on June 13, 2019. It has been in
                                administrative processing since then (almost 8 weeks). I fully appreciate
                                that this is a necessary process and that it should take the needed time. I
                                just want to let you know that I take care of very ill patients in an area
                                that is federally designated as medically under-served. I also have a 6
                                year old daughter who is enrolled at school in Albuquerque, NM and should
   Description:                 be starting her first grade on August 12th. The delay is stressful to my
                                patients, colleagues, and family.

                                If I could be of any assistance in this matter, please do not hesitate to
                                contact me any time at my email hammamkyahya@gmail.com or my
                                cel                     You could also contact the chair of the Department of
                                Psychiatry and Behavioral Sciences at UNM, Dr. Mauricio Tohen, if you have
                                any questions regarding my work at UNM. His email is mtohen@salud.unm.edu,
                                and his cell is                   . I truly appreciate your help with this
                                matter.

                                Sincerely,
                                Hammam Yahya, MD
   Origin:                      Email
   Case Reason:                 visa inquiry
                                Dear Applicant,

                                Thank you for writing to the US Visa Services Desk.

                                We understand that you wish to know your visa application status.

                                We would like to inform you that your application requires additional administrative processing. Please note that the length of processing time will vary based on the circumstances of each case. Please be patient.

   Public Response:             If you are a nonimmigrant applicant, you may check your DS-160 and visa application status online here: https://ceac.state.gov/genniv/ by entering your interview location and your DS-160 barcode number.

                                We hope this information is helpful to you.

                                Please visit https://www.surveymonkey.com/s/gss_jordan to share feedback on the services we provide.

                                Sincerely,

                                U.S. Visa Service Desk.




https://mail.google.com/mail/u/0?ik=10ff65cbc9&view=pt&search=all&permmsgid=msg-f%3A1641069898729741056&simpl=msg-f%3A164106989872…                                                                                                                            1/1
Case 1:19-cv-00733-MV-GBW Document 1-5 Filed 08/12/19 Page 4 of 16
Case 1:19-cv-00733-MV-GBW Document 1-5 Filed 08/12/19 Page 5 of 16
Case 1:19-cv-00733-MV-GBW Document 1-5 Filed 08/12/19 Page 6 of 16
Case 1:19-cv-00733-MV-GBW Document 1-5 Filed 08/12/19 Page 7 of 16
Case 1:19-cv-00733-MV-GBW Document 1-5 Filed 08/12/19 Page 8 of 16
Case 1:19-cv-00733-MV-GBW Document 1-5 Filed 08/12/19 Page 9 of 16
Case 1:19-cv-00733-MV-GBW Document 1-5 Filed 08/12/19 Page 10 of 16
Case 1:19-cv-00733-MV-GBW Document 1-5 Filed 08/12/19 Page 11 of 16
Case 1:19-cv-00733-MV-GBW Document 1-5 Filed 08/12/19 Page 12 of 16
Case 1:19-cv-00733-MV-GBW Document 1-5 Filed 08/12/19 Page 13 of 16
Case 1:19-cv-00733-MV-GBW Document 1-5 Filed 08/12/19 Page 14 of 16
Case 1:19-cv-00733-MV-GBW Document 1-5 Filed 08/12/19 Page 15 of 16
Case 1:19-cv-00733-MV-GBW Document 1-5 Filed 08/12/19 Page 16 of 16
